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 1                               UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3 ROBERT S. SPECK,                                           Case No.: 2:21-cv-02033-APG-DJA

 4           Plaintiff                                      Order Deeming Order to Show Cause
                                                                        Satisfied
 5 v.

 6 LAS VEGAS SANDS LLC and JUSTIN
   HAGAN,
 7
        Defendants
 8

 9          In light of defendant Venetian Casino Resort LLC’s response to the order to show cause

10 (ECF No. 9),

11          I ORDER that the order to show cause (ECF No. 5) is satisfied and I will not remand this

12 action to the state court for lack of subject matter jurisdiction at this time.

13          DATED this 2nd day of December, 2021.

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                                                           ANDREW P. GORDON
                                                           UNITED STATES DISTRICT JUDGE
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